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              JOINT STATEMENT REGARDING STATES’ MOTION TO GIVE NOTICE OF PROPOSED
                                  PARENS PATRIAE SETTLEMENT
                                                     Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9                                 SAN FRANCISCO DIVISION

10
     IN RE GOOGLE PLAY STORE                          Case No. 3:21-md-02981-JD
11   ANTITRUST LITIGATION

12                                                    JOINT STATEMENT REGARDING
     THIS DOCUMENT RELATES TO:                        STATES’ MOTION TO GIVE NOTICE
13                                                    OF PROPOSED PARENS PATRIAE
     State of Utah et al. v. Google LLC et al.,       SETTLEMENT
14   Case No. 3:21-cv-05227-JD

15   In re Google Play Consumer Antitrust             Judge: Hon. James Donato
     Litigation, Case No. 3:20-cv-05761-JD
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              JOINT STATEMENT REGARDING STATES’ MOTION TO GIVE NOTICE OF PROPOSED
                                  PARENS PATRIAE SETTLEMENT
                                                    Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 1                                            INTRODUCTION

 2          On November 14, 2024, the Court held a status conference on Plaintiff States’ Motion to

 3   Give Notice of Proposed Parens Patriae Settlement, Dkt. No. 522 in Case No. 21-cv-05227-JD.

 4   The Court afterwards issued a minute order directing the parties to file a joint statement addressing

 5   the Proposed Settlement’s consistency with the permanent injunction entered in Epic Games, Inc. v.

 6   Google LLC, Dkt. No. 702 in Case No. 20-cv-05671-JD (“Epic Injunction”). Accordingly, the

 7   States, Consumer Counsel, and Google (the “Parties”) respectfully submit this joint statement,

 8   which compares the injunctive terms of the Proposed Settlement with the Epic Injunction and

 9   explains how the two would operate without contradiction or dilution. Along with this brief, the

10   Parties submit a side-by-side comparison as Appendix A.

11          Regardless of whether the Proposed Settlement is implemented before, concurrently with, or

12   after the Epic Injunction, it will provide enforceable commitments that extend beyond the terms of

13   the Epic Injunction and do not conflict with or dilute the provisions of that decree. If both the Epic

14   Injunction and the Proposed Settlement are in effect, Google will have to comply with the terms of

15   both decrees. As a result, where the Epic Injunction’s provisions are more restrictive than the

16   Proposed Settlement, Google will be required to comply with those more restrictive provisions

17   during any period in which both decrees are in effect, and nothing in the Proposed Settlement would

18   excuse Google’s compliance with any provision of the Epic Injunction. Indeed, to avoid any doubt

19   on this matter, the Parties agree that the Court can confirm, in any approval of the Proposed

20   Settlement, that the Proposed Settlement’s terms cannot override Google’s obligations under the

21   Epic Injunction. Accordingly, the Parties once again urge the Court to approve the issuance of notice

22   to affected consumers, the first step in the process leading to final settlement approval.

23                                        LEGAL FRAMEWORK

24          As the Court indicated at the February 26, 2024, preliminary approval hearing, proposed

25   settlements are assessed as of the time they were entered. See Lane v. Facebook, Inc., 696 F.3d 811,

26   824 (9th Cir. 2012) (“a class-action settlement necessarily reflects the parties’ pre-trial assessment

27   as to the potential recovery”). Indeed, both the Ninth Circuit and the Supreme Court have recognized

28   that compromise is inherent to settlement. See Officers for Justice v. Civil Serv. Comm’n of S.F.,
                                                    -1-
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 1   688 F.2d 615, 624 (9th Cir. 1982) (“Of course, the very essence of a settlement is compromise . . . .

 2   ‘The parties waive their right to litigate the issues involved in the case and thus save themselves the

 3   time, expense, and inevitable risk of litigation. Naturally, the agreement reached normally embodies

 4   a compromise; in exchange for the saving of cost and elimination of risk, the parties each give up

 5   something they might have won had they proceeded with litigation.’” (quoting U.S. v. Armour &

 6   Co., 402 U.S. 673, 681 (1971))). One distinct benefit of settlement is the immediacy of the relief

 7   secured. See id. at 629 (“As the district court observed, any benefits above those provided by the

 8   decree would likely be substantially diluted by the delay inherent in acquiring them. . . . During the

 9   remainder of the litigation, and probably an appeal, many of the immediate and tangible benefits

10   accruing from the settlement would be lost.”).

11                                                       ANALYSIS

12            The Proposed Settlement provides that its injunctive terms will go into effect once the Court

13   has entered a final judgment and order approving the Settlement and dismissing the underlying

14   actions, and the time for any appellate review has passed. See Proposed Settlement, Dkt. 522-2 in

15   Case No. 21-cv-05227-JD, §§ 1.14, 1.16. States and Consumers note that, although the Ninth Circuit

16   has expedited briefing and argument in Google’s appeal of the Epic Injunction, the Proposed

17   Settlement can go into effect, yielding benefits for consumers, before the Epic Injunction makes its

18   journey through the appellate process, particularly if Google’s request for a new trial is granted

19   along the way. Here, the Parties explain how the Proposed Settlement provides additional injunctive

20   relief without diluting or undercutting the provisions of the Epic Injunction if and when the Epic

21   Injunction takes effect. 1

22            The Proposed Settlement and the Epic Injunction do not contradict or dilute each other, even

23   though they are different. There are terms in the Proposed Settlement that are “less restrictive” than

24   those in the Epic Injunction; for those terms, Google must comply with the more restrictive terms

25   of the Epic Injunction if both decrees are in force. In other cases, the terms of the Epic Injunction

26   are less restrictive, and Google must comply with the more restrictive terms of the Proposed

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     1
       For purposes of this filing only, the Parties take no position on the merits of Google’s appeal of any term in the Epic
28   Injunction and address each as though it were going to be implemented in its present form.
                                                              -2-
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                                                                    Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 1   Settlement if both decrees are in force. In all instances where there are analogous or related

 2   provisions, the Proposed Settlement’s provisions have longer terms than the Epic Injunction’s

 3   analogous or related provisions. In addition, each document contains provisions that have no

 4   analogue in the other. See Proposed Settlement §§ 6.7, 6.9, 6.10; Epic Injunction ¶¶ 11, 12. And the

 5   provisions relating to Google’s compliance would work without conflict—and independently—to

 6   promote compliance with each decree. See Proposed Settlement §§ 6.12, 7; Epic Injunction ¶ 13.

 7   Thus, the two injunctions do not contradict each other and can have overlapping effect to provide

 8   additional injunctive relief.

 9           The Epic Injunction contains ten paragraphs of injunctive relief (numbered ¶¶ 4-13). The

10   Parties address each in turn.

11           Epic Injunction Paragraph 4, for a period of three years, prohibits Google from sharing

12   revenue generated by the Google Play Store with anyone “that distributes Android apps, or has stated

13   that it will launch or is considering launching an Android app distribution platform or store.” There

14   is no direct analogue in the Proposed Settlement.

15           The Proposed Settlement does, however, contain certain provisions that relate to third party

16   stores on Android mobile devices. In Section 6.2.1, Google has committed, for a period of seven

17   years, to “continue to technically enable Android to allow the installation of third-party apps on

18   Mobile Devices . . . including through third party app stores.” Section 6.6.1 of the Proposed

19   Settlement prohibits Google, for five years, from entering into or enforcing agreement provisions

20   with “the purpose or effect of securing preload exclusivity” for the Google Play Store. Section 6.8.1

21   of the Proposed Settlement prohibits Google, for five years, from requiring its “consent” before an

22   original equipment manufacturer (“OEM”) includes a third-party app store on a mobile device and

23   from rejecting a mobile device build because it includes an alternative app store. And Section 6.7.1

24   prohibits Google, for a period of four years, from entering into or enforcing agreement provisions

25   under which an OEM would be prevented from granting installer rights to preloaded applications

26   (e.g., app stores). Finally, in Section 6.12.1, Google is prohibited from offering any inducement

27   (monetary or otherwise), imposing any term or condition of accessing a Google product or service,

28   or making a technological change, if such inducement, term, condition, or technological change has
                                                    -3-
                JOINT STATEMENT REGARDING STATES’ MOTION TO GIVE NOTICE OF PROPOSED
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                                                          Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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 1   the purpose and effect of violating any of the commitments it has made in the Proposed Settlement.

 2   ( States and Consumers refer to this as the “anti-circumvention provision.”)

 3              These provisions in the two documents do not contradict or dilute each other, and Google

 4   will be bound by any stronger provisions in the Epic Injunction if and when both decrees are in

 5   effect. During the three years in which the Epic Injunction would be in effect, Google would be

 6   expressly prohibited from sharing Google Play revenue with a competing app store on Android

 7   devices. But in the Proposed Settlement, Google has committed to a number of provisions that relate

 8   to competing app stores that are described above and that last for longer periods of time, such as the

 9   commitment, for seven years, to “continue to technically enable Android to allow the installation of

10   third-party apps,” including “through third party app stores.” In addition, under Section 6.12.1 of

11   the Proposed Settlement, Google would be prohibited from offering any inducement with the

12   purpose and effect of violating these commitments.

13              Epic Injunction Paragraph 5, for a period of three years, prohibits Google from

14   conditioning “a payment, revenue share, or access to any Google product or service, on an agreement

15   by an app developer to launch an app first or exclusively in the Google Play Store.” The Proposed

16   Settlement has an analogous provision. Section 6.5.1, for a period of four years, prohibits Google

17   from entering or enforcing any agreement provision that commits a developer to launching its apps

18   in the Google Play Store “at the same time [as] or earlier than it launches them on any other app

19   store for Mobile Devices.” 2 Id. § 6.5.1(a). The Proposed Settlement contains two exceptions to its

20   prohibition that are not found in the Epic Injunction: First, Google is not prohibited from negotiating

21   title launch timing with a developer on an app-by-app basis (versus for the developer’s full suite of

22   apps). And second, after two years, Google is not prohibited from having title launch timing

23   agreements with developers if they “concern alternative app stores owned or controlled by a

24   company with annual revenues exceeding $100 billion.” Id. § 6.5.2.

25              As described below, Section 6.5.1 of the Proposed Settlement is more restrictive in some

26   ways than its parallel in the Epic Injunction and less restrictive in other ways. If both the Proposed

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28   2
         Mobile Devices are Android-compatible smartphones and tablets sold in the U.S. Proposed Settlement § 1.26.
                                                              -4-
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 1   Settlement and the Epic Injunction are in effect, Google will have to comply with the more restrictive

 2   provisions in each decree.

 3           Section 6.5.1 of the Proposed Settlement is broader than its parallel in the Epic Injunction in

 4   certain respects. The Proposed Settlement covers all kinds of agreements; States and Consumers

 5   note that the Epic Injunction, by contrast, covers only those agreements involving payments, revenue

 6   shares, or access. In addition, the Proposed Settlement prohibits not only agreements requiring apps

 7   to be launched on the Play Store before they are launched elsewhere, but also those requiring that

 8   apps be launched on the Play Store simultaneously with their launch elsewhere (i.e., sim-ship).

 9   Although the Proposed Settlement does not expressly address agreement provisions that require an

10   app to launch exclusively in the Google Play Store, such a provision would violate the Proposed

11   Settlement because it would constitute an agreement to launch an app earlier than the app was

12   launched on other Android app stores. 3

13           In contrast, the Epic Injunction does not contain the exceptions described above that are

14   found in the Proposed Settlement. In this respect, the Proposed Settlement is narrower than the Epic

15   Injunction. Nevertheless, the exceptions do not present a conflict because they apply only to the

16   scope of the Proposed Settlement and do not have any effect on the scope of the Epic Injunction.

17   Here is how these provisions in the Epic Injunction and the Proposed Settlement would operate if

18   they were both in effect: Google would be prohibited from having any agreement requiring a

19   developer to launch an app on the Play Store before or to the exclusion of launching it on another
20   Android app store, without exceptions. As to sim-ship, during this overlapping time period, Google

21   would not be prohibited from entering into simultaneous launch agreements on an app-by-app basis

22   (§ 6.5.2(a)) and with respect to app stores run by $100 billion+ companies (§ 6.5.2(b)).

23           Epic Injunction Paragraph 6, for a period of three years, prohibits Google from

24   conditioning “a payment, revenue share, or access to any Google product or service, on an agreement

25   by an app developer not to launch on a third-party Android app distribution platform or store a

26
     3
      States and Consumers additionally note that the Proposed Settlement’s anti-circumvention provision in Section 6.12.1
27   works in tandem with Section 6.5.1 to further prohibit Google from securing Play Store exclusivity for apps because an
     agreement to distribute apps only on the Play Store would necessarily have the purpose and effect of ensuring that they
28   are launched on the Play Store before they are launched elsewhere.
                                                             -5-
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 1   version of an app that includes features not available in, or is otherwise different from, the version

 2   of the app offered on the Google Play Store.” The Proposed Settlement has an analogous provision.

 3   Section 6.5.1 prohibits any agreement provision committing a developer to launch its apps on the

 4   Google Play Store “with the same or better features as compared to any other app store for Mobile

 5   Devices.” Id. § 6.5.1(b). The Proposed Settlement’s title feature parity provision applies to any kind

 6   of agreement; States and Consumers note that, by contrast, as with the title launch parity provisions

 7   discussed above, the Epic Injunction is narrower because it covers only those agreements involving

 8   payments, revenue shares, or access. The Proposed Settlement’s title feature parity provision also

 9   lasts for a longer period of time.

10             The Proposed Settlement’s title feature parity provision contains the same exceptions as the

11   title launch parity provision, but is otherwise applicable for four years. See id. § 6.5.2. Although

12   these exceptions are not found in the Epic Injunction, they do not present a conflict because Google

13   would be required to comply with the broader terms of the Epic Injunction while the Epic Injunction

14   is in effect. The title feature parity provisions in the Proposed Settlement and the Epic Injunction

15   would operate without any conflict in much the same way as the title launch parity provisions would.

16   While both provisions were in effect, the Proposed Settlement’s application to “any agreement”

17   would impose limitations on Google that are broader than the scope of the Epic Injunction’s term.

18   And because the Epic Injunction does not contain any exceptions, Google could not use the

19   exceptions to the scope of the Proposed Settlement’s feature parity provision while the Epic

20   Injunction was in effect. In other words, if both the Proposed Settlement and the Epic Injunction are

21   in effect, Google will have to comply with the more restrictive feature parity provisions in each

22   decree.

23             Epic Injunction Paragraph 7, for a period of three years, prohibits Google from

24   conditioning a “payment, revenue share, or access to any Google product or service, on an agreement

25   with an original equipment manufacturer (OEM) or carrier to preinstall the Google Play Store on

26   any specific location on an Android device.” Section 6.6 of the Proposed Settlement also addresses

27   the placement of the Play Store on Android devices. The Proposed Settlement prohibits Google from

28   entering or enforcing any agreement provision whose “purpose or effect” is to secure home screen
                                                   -6-
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 1   exclusivity for the Google Play Store on a Mobile Device for a period of five years (§ 6.6.1).

 2           The Proposed Settlement’s prohibition on home screen exclusivity deals differs from, but

 3   neither dilutes nor contradicts, its analogue in the Epic Injunction. If both decrees were in effect,

 4   Google would have to comply with them both. As a result, Google would have to comply with the

 5   more restrictive terms whenever the Epic Injunction and the Proposed Settlement were in effect at

 6   the same time. For example, during the three-year term of the Epic Injunction, Google would not be

 7   able to condition payment, revenue share, or access on even a non-exclusive agreement for home

 8   screen placement of the Google Play Store, even though the Proposed Settlement does not address

 9   such non-exclusive agreements. Similarly, during the three-year term of the Epic Injunction, Google

10   would not be able to condition payment, revenue share, or access for placement of the Google Play

11   store “on any specific location” on an Android device, even though the Proposed Settlement

12   addresses only home screen placement.

13           The Proposed Settlement prohibits any agreement with the “purpose or effect” of giving the

14   Play Store home screen exclusivity for five years; States and Consumers note that it is broader in

15   this respect because it is not limited to agreements involving payments, revenue shares, or access.

16   And the Proposed Settlement’s home-screen exclusivity provision runs for two years longer than

17   the Epic Injunction’s provision regarding placement. As a result, for an additional two years beyond

18   the Epic Injunction’s term, the Proposed Settlement would prohibit Google from having agreements

19   requiring home screen exclusivity.

20           Epic Injunction Paragraph 8, for a period of three years, prohibits Google from

21   conditioning a “payment, revenue share, or access to any Google product or service, on an agreement

22   with an OEM or carrier not to preinstall an Android app distribution platform or store other than the

23   Google Play Store.” Sections 6.6, 6.7, and 6.8 of the Proposed Settlement likewise address

24   preloading of alternative app stores but impose broader restrictions in certain respects. Specifically,

25   the Proposed Settlement, for a period of five years, prohibits Google from entering into or enforcing

26   an agreement provision whose purpose or effect is to secure preload exclusivity for the Play Store

27   (§ 6.6.1).

28           The Proposed Settlement, for a period of four years, prohibits Google from entering into or
                                                    -7-
                  JOINT STATEMENT REGARDING STATES’ MOTION TO GIVE NOTICE OF PROPOSED
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 1   enforcing agreement provisions under which an OEM would be prevented from granting installer

 2   rights to preloaded applications (§ 6.7.1). The Proposed Settlement, for a period of five years, also

 3   prohibits Google from requiring its “consent” before an OEM preinstalls an alternative app store on

 4   a Mobile Device and from rejecting a Mobile Device build because it includes an alternative app

 5   store (§ 6.8.1).

 6            The Proposed Settlement also contains qualifications that make it less restrictive than the

 7   Epic Injunction in certain respects. Sections 6.7 and 6.8 do not prohibit Google from taking

 8   “reasonable steps that are tailored to protect user privacy or security” (§§ 6.7.1, 6.8.1) and to

 9   implement “generally applicable policies relating to content and functionality” and “neutral user

10   experience requirements that apply to all pre-installed app stores (including Google Play)” (§§ 6.7.2,

11   6.8.2). These qualifications are not found in Epic Injunction Paragraph 8, 4 although certain

12   qualifications are found in Paragraph 12 with respect to alternative app stores distributed through

13   the Google Play Store. Section 6.6 of the Proposed Settlement, regarding preload exclusivity

14   agreements, does not contain the qualifications found in Sections 6.7 and 6.8, which the Parties

15   addressed in their April 17, 2024, supplemental briefs. In any event, the presence of these

16   qualifications in the Proposed Settlement does not contradict or dilute Paragraph 8 of the Epic

17   Injunction; regardless of the scope of Sections 6.6 to 6.8 of the Proposed Settlement, Google will be

18   required to comply with the full scope of Paragraph 8 of the Epic Injunction whenever it is in effect.

19            The Proposed Settlement also includes terms designed to ensure the functionality of
20   sideloaded app stores on Android devices. The Epic Injunction has nothing comparable. For

21   sideloaded app stores, the Proposed Settlement ensures, for a period of four years, that Google will

22   maintain certain functionality regarding app installs and updates. Id. §§ 6.9.1-6.9.2. Furthermore,

23   the Proposed Settlement requires Google to combine into a single screen two screens in Android’s

24   default sideloading flow, such that the user is not required to visit the device’s settings to enable

25   sideloading. The Proposed Settlement provides that Google must display an accurate message on

26
     4
      In Google’s view, these types of reasonable policies to safeguard consumers would not run afoul of Epic Injunction
27   Paragraph 8. Nonetheless, in the event that the Court were to conclude that any specific Google policy is inconsistent
     with Epic Injunction Paragraph 8, then, of course, Google would be required to comply with that construction of
28   Paragraph 8 and could not enforce that policy.
                                                             -8-
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 1   this screen and suggests specific language the States have approved. Id. § 6.10.1. The Epic

 2   Injunction does not contain any analogue to these provisions.

 3          Epic Injunction Paragraph 9, for a period of three years, prohibits Google from requiring

 4   “the use of Google Play Billing in apps distributed on the Google Play Store”; it also prevents

 5   Google from prohibiting app developers from telling users about alternative payment methods and

 6   from requiring app developers to set a price based on whether Google Play Billing is used. Sections

 7   6.3, 6.4, and 6.11 of the Proposed Settlement also address alternative billing systems. The Proposed

 8   Settlement requires Google to give developers the option to offer user choice billing to users of

 9   Android devices in the United States for a period of at least five years. Id. § 6.3.1. Under this

10   provision, app developers can choose to offer an alternative in-app billing service alongside Google

11   Play Billing and give users the ability to choose a billing system via a neutral choice screen. Id.

12   § 6.3.1(a), (d). The Proposed Settlement further provides that app developers can encourage users

13   to select their alternative billing system through pricing or promotion and can use contact

14   information obtained either inside or outside the app to communicate with users out-of-app,

15   including about alternative payment systems. Id. §§ 6.3.1(b), 6.4.1, 6.11.1(a), 6.11.2. Finally, the

16   Proposed Settlement limits the data Google can collect from app developers to only the data

17   necessary to support the alternative billing systems and to collect a service fee. Id. § 6.3.2. Google

18   is prohibited from using any of this data to compete with those developers’ apps. Id.

19          The Proposed Settlement’s terms regarding alternative in-app billing systems differ from the

20   Epic Injunction’s terms but do not contradict, undercut, or dilute them. If both the Epic Injunction

21   and the Proposed Settlement are in effect, Google will be required to comply with the in-app billing

22   provisions of both decrees. For example, the Epic Injunction would require Google to allow an app

23   developer to offer a third-party billing system in place of Google Play Billing, but the Proposed

24   Settlement requires Google to allow third-party billing systems offered alongside Google Play

25   Billing (§ 6.3.1). Therefore, if both decrees were in effect, Google would be required to allow an

26   app developer to choose for itself whether to (i) offer a third-party billing system in place of Google

27   Play Billing (as a result of the Epic Injunction) or (ii) offer a third-party billing system alongside

28   Google Play Billing (as required by the Proposed Settlement).
                                                    -9-
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 1          Both provisions would entitle app developers to tell users about the alternative billing system

 2   and to set their prices as they see fit. For example, the Proposed Settlement expressly prohibits

 3   Google from requiring app developers to offer equal or more favorable prices in Google Play Billing

 4   versus alternative distribution platforms or billing systems (§ 6.4.1). And the Proposed Settlement

 5   provides that, with respect to user choice billing, “[d]evelopers can encourage Users to choose their

 6   billing service through offering different pricing or promotion options” (§ 6.3.1(b)). Likewise, Epic

 7   Injunction Paragraph 9 states that “Google may not require a developer to set a price based on

 8   whether Google Play Billing is used.”

 9          The provisions of the Epic Injunction and the Proposed Settlement regarding alternative

10   billing systems would work alongside each other in much the same way as the other provisions. As

11   noted above, if both decrees were to take effect, during the three-year duration of the Epic Injunction,

12   Google would have to allow app developers to decide whether to (i) offer alternative payment

13   systems in place of Google Play Billing or (ii) offer alternative payment systems alongside Google

14   Play Billing. During the two to three years extending beyond the Epic Injunction, the Proposed

15   Settlement would require Google to allow app developers to offer alternative payment systems

16   alongside Google Play Billing. Both documents require Google to allow app developers to tell users

17   about their alternative billing systems and prohibit Google from setting prices when alternative

18   billing systems are used.

19          Epic Injunction Paragraph 10, for a period of three years, prohibits Google from

20   preventing an app developer from “communicating with users about the availability or pricing of an

21   app outside the Google Play Store,” including by “providing a link for the user to download the app

22   outside the Play Store.”

23          Section 6.11 of the Proposed Settlement also addresses developer communications through

24   multiple provisions.

25          First, Section 6.11.2 of the Proposed Settlement requires Google, for a period of six years,

26   to allow developers to communicate with users outside an app using contact information obtained

27   either outside the app or inside it (with user consent).

28          Second, the Proposed Settlement additionally requires Google, for a period of five years, to
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 1   allow developers of apps that allow in-app purchases of digital goods and services to communicate

 2   with users about alternative ways to purchase digital goods and services through the same “calls to

 3   action” inside their apps as Apple is required to allow under the Epic v. Apple injunction, except that

 4   Google is not required to permit external links and Google’s obligations under this provision do not

 5   exceed allowing developers to provide users with accurate information within the app that informs

 6   users about purchasing options outside the app, including price information. Id. § 6.11.4.

 7           Third, for consumption-only apps (i.e., apps that do not offer in-app purchases), the Proposed

 8   Settlement, for a period of six years, requires Google to allow developers to inform users within the

 9   app about alternative purchasing options outside the app, although Google is not required to permit

10   external links. Id. § 6.11.3.

11           Fourth, the Proposed Settlement, for a period of six years, does not allow Google to prohibit

12   developers from disclosing to users Google’s service or other fees associated with the Google Play

13   Store or Google Play Billing. Id. § 6.11.5.

14           The most notable difference between the decrees is the Epic Injunction’s provision that

15   Google “may not prohibit a developer from providing a link to download the app outside the Google

16   Play Store” for three years. The State Settlement does not contain a comparable provision and does

17   not require Google to permit external links. Another notable difference is that the developer

18   communication provisions in the Proposed Settlement last for a longer period of time. But these

19   differences would not result in the Proposed Settlement contradicting or diluting the Epic Injunction.

20   Rather, when both decrees are in effect, Google would not be permitted to limit the communications

21   described in either decree.

22           Epic Injunction Paragraphs 11 and 12, for a period of three years, require Google to give

23   alternative Android app stores access to the Google Play Store’s catalog of apps and to facilitate

24   their download (¶ 11) and prohibit Google from preventing the distribution of alternative Android

25   app stores through the Play Store (¶ 12). The Proposed Settlement contains no analogues to these

26   provisions.

27           Finally, Epic Injunction Paragraph 13 puts in place a three-member Technical Committee

28   to “review disputes or issues relating to the technology and processes required” by the Epic
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 1   Injunction. The Technical Committee is to have one member from Google (paid for by Google), one

 2   from Epic (paid for by Epic), and a third chosen by the first two (paid for by Google and Epic

 3   evenly). Section 7 of the Proposed Settlement puts in place an Independent Compliance Professional

 4   (“ICP”) to assist the States with ensuring Google’s compliance with the terms of the Proposed

 5   Settlement. The Proposed Settlement requires Google to prepare annual reports evaluating its

 6   compliance with the Proposed Settlement’s injunctive terms and puts the ICP in place to review

 7   Google’s reports and prepare an addendum evaluating Google’s assessment of its compliance. Id.

 8   § 7.2. Google must cooperate fully with the ICP to allow the ICP to fulfill its functions and must

 9   promptly provide information requested by the ICP that is reasonably necessary to evaluate the

10   accuracy of Google’s assertions in its reports. The ICP will remain in place for five years, and its

11   reasonable compensation and expenses will be paid for by Google. Id. §§ 7.3.3, 7.6. The States can

12   refer credible complaints they receive to the ICP for evaluation when the ICP reviews Google’s

13   reports. Id. § 7.2.5. The States, unlike private parties, retain all their options for a full investigation

14   of Google’s conduct, including the use of compulsory process.

15           If the Epic Injunction’s installation of a Technical Committee were to take effect, that

16   Committee could fulfill its role during the three years in which the Injunction were in effect without

17   any conflict with the Proposed Settlement’s ICP or vice versa. The two roles are distinct and concern

18   different decrees. While the ICP would be responsible for evaluating Google’s reports of compliance

19   with the Proposed Settlement, the Technical Committee would be responsible for reviewing disputes

20   or issues regarding the technology or processes required by the Epic Injunction.

21                                                   CONCLUSION

22           The Proposed Settlement’s injunctive terms are consistent with the terms of the Epic

23   Injunction because any “more restrictive” terms of the Epic Injunction will govern while both

24   injunctions are in place. Likewise, any “more restrictive” terms of the Proposed Settlement will

25   govern while both injunctions are in place. Thus, neither dilutes nor contradicts the other. The States

26   respectfully request that the Court enter an order granting preliminary approval of the Proposed

27   Settlement, directing that notice be given to Eligible Consumers, and setting a final approval hearing

28   schedule.
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 1   DATED: February 10, 2025

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 1                                         E-FILING ATTESTATION

 2          I, Brian D. Wang, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatory identified

 4   above has concurred in this filing.

 5

 6                                                 /s/ Brian D. Wang

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